    Case: 1:19-cv-02952 Document #: 50 Filed: 09/06/19 Page 1 of 4 PageID #:2176




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

  ART AKIANE LLC,                                          )
                                                           )
           Plaintiff,                                      )
                                                           )   Case No. 19-cv-02952
   v.                                                      )
                                                           )   Judge Edmond E. Chang
   ART & SOULWORKS LLC, and                                )
   CAROL CORNELIUSON,                                      )
                                                           )
           Defendants.                                     )
---------------------------------------------------------- )
                                                           )
ART & SOULWORKS LLC, and                                   )
CAROLYNE CORNELIUSON,                                      )
                                                           )
         Defendants - Counter-Plaintiffs,                  )
v.                                                         )
                                                           )
ART AKIANE LLC,                                            )
                                                           )
         Plaintiff - Counter-Defendant,                    )
                                                           )
and                                                        )
                                                           )
AKIANE ART GALLERY, LLC, and                               )
AKIANE KRAMARIK,                                           )
                                                           )
         Counter-Defendants.                               )

                     ART & SOULWORKS LLC AND
       CAROLYNE CORNELIUSON’S MOTION TO EXTEND TIME TO ANSWER

        Art & Soulworks LLC and Carolyne Corneliuson moves the court to extend the time to

answer Plaintiff’s First Amended Complaint to September 13, 2019, and in support thereof states

as follows:
    Case: 1:19-cv-02952 Document #: 50 Filed: 09/06/19 Page 2 of 4 PageID #:2176




       1.      Pursuant to the Court’s comments in open court regarding the scheduling of the

matter, including Plaintiff’s filing of a preliminary injunction, it was Defendants’ belief that the

deadline for answering Plaintiff’s First Amended Complaint was deferred.

       2.      Plaintiff contacted Defendants on September 6, 2019 and sought Defendants’

answer and indicated that Defendants were in default.

       3.      Pursuant to Plaintiff’s request, Defendants responded with their understanding of

the deadlines in the matter. Defendants further indicated that they would be able to answer the

First Amended Complaint within seven days and requested Plaintiff’s grant an extension until

September 13, 2019.

       4.      The First Amended Complaint contains 210 paragraphs and over 1000 pages of

exhibits, along with numerous new allegations against Defendants.

       5.      In addition, lead counsel for Defendants, Nicole N. Auerbach, is out of the country

as of the filing of this motion, to return on Monday September 9, 2019.

       6.      Defendants request an additional 7 days to answer, until September 13, 2019.

       7.      As of the filing of this motion, Defendants have not come to an agreement with

Plaintiff on the requested extension.

WHEREFORE, Defendants Art & Soulworks LLC and Carolyne Corneliuson moves this

Honorable Court to enter an order granting it leave until September 13, 2019, to answer Plaintiff’s

First Amended Complaint.

 Dated: September 6, 2019                            Respectfully submitted,

                                                     /s/ Salvador A. Carranza

                                                     Nicole N. Auerbach
                                                     Patrick J. Lamb
                                                     Salvador Carranza
                                                     ELEVATENEXT LAW
Case: 1:19-cv-02952 Document #: 50 Filed: 09/06/19 Page 3 of 4 PageID #:2176




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   Case: 1:19-cv-02952 Document #: 50 Filed: 09/06/19 Page 4 of 4 PageID #:2176




                               CERTIFICATE OF SERVICE

       I certify that on September 6, 2019, I caused a copy of the foregoing Motion for Extension

of Time to be served upon all counsel of record via the Court’s ECF system.



                                                    /s/ Salvador A. Carranza
                                                    Salvador A. Carranza
